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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
TRITA PARS]
and
NATIONAL IRANIAN AMERICAN COUNCIL Civ. No.: 08 CV 00705 (JDB)
Plaintiffs,
v.
SEID HASSAN DAIOLESLAM,

Defendant.

 

 

ORDER GRANTING PLAINTIFF’S MOTION FOR AN EMERGENCY PROTECTIVE
ORDER
UPON CONSIDERATION of the Plaintiff's Motion for an Emergency Protective Order
prohibiting disclosure of discovery material to third parties by the Defendant, and any opposition
thereto, it is this day of , 2009, by the United States District

Court for the District of Columbia

ORDERED, that the Motion for an Emergency Protective Order is hereby GRANTED;
and further
ORDERED, that an Order of Default on the issue of liability is hereby GRANTED; and

further
 

 

Case 1:08-cv-00705-JDB Document 42-1 Filed 10/31/09 Page 2 of 2

ORDERED, that the Defendant is prohibited from offering any testimony or exhibits at

trial on the issue of liability and any defenses thereto Default on the issue of liability.

 

JUDGE JOHN D. BATES

Cc. all parties
